Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 1 of 24 PageID #: 20




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

JOSEPH MORRIS, individually and on behalf of                :
All other similarly situated                                :
                                                            :
               v.                                           :       C.A. 69-cv-4192-JJM
                                                            :
PATRICIA COYNE-FAGUE, in her capacity as the                :
Director of the State of Rhode Island Department of         :
Corrections, successor to ANTHONY TRAVISONO                 :
____________________________________________


      DEFENDANT’S MOTION TO TERMINATE MORRIS CONSENT DECREE


       Now comes Defendant, Rhode Island Department of Corrections, and hereby moves,

pursuant to 18 U.S.C. §3626, to terminate the Morris consent decree as and for the reasons

proffered in the accompanying memorandum.

                                             R.I. DEPARTMENT OF CORRECTIONS,
                                             By its Attorney,

                                             /s/ Michael B. Grant

                                             Michael B. Grant, Esquire (#3864)
                                             R.I Department of Corrections
                                             40 Howard Avenue
                                             Cranston, Rhode Island 02920
                                             TEL: (401) 462-0145
                                             FAX: (401) 462-2583




                                      CERTIFICATION

        I hereby certify that on 1/29/20 I filed the within document via the ECF filing system and
that a copy is available for viewing and downloading.

                                                    /S/ Michael B. Grant
                                                    _____________________________
                                                    Michael B. Grant #3864



                                                1
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 2 of 24 PageID #: 21




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

JOSEPH MORRIS, individually and on behalf of                :
All other similarly situated                                :
                                                            :
              v.                                            :       C.A. 69-cv-4192-JJM
                                                            :
PATRICIA COYNE-FAGUE, in her capacity as the                :
Director of the State of Rhode Island Department of         :
Corrections, successor to ANTHONY TRAVISONO                 :
____________________________________________

                                  DEFENDANT’S MEMORANDUM

        Now comes Defendant, Rhode Island Department of Corrections (“RIDOC”) and hereby

 moves, pursuant to 18 U.S.C. 3626, to terminate the Morris Rules consent decree based on the

 arguments proffered below.


I.     HISTORICAL REVIEW OF THE MORRIS RULES

       In October 1969, the instant class action lawsuit was filed on behalf of present and future

inmates at the RIDOC. As resolution of this matter, the parties entered into an interim decree

(issued on March 10, 1970) that established new prison condition procedures at the ACI. Morris

v. Travisono, 310 F. Supp. 857 (D.R.I. 1970)

       On April 20, 1972, Chief Judge Pettine issued the final decree. In relevant part, this final

decree ordered:

       plaintiffs and members of their class are entitled to those minimum procedural
       safeguards with respect to classification and discipline as are set out in the
       classification and disciplinary rules of the ‘Regulations Governing Disciplinary,
       Classification, and Mail Procedures for all Inmates at the Adult Correctional
       Institutions, State of Rhode Island,’ part of the copy attached hereto which
       Defendants agree to promulgate pursuant to § 42-35-1, § 42-35-3(a) et seq. of the
       Rhode Island General Laws within ninety days from the date of this order and
       incorporate into a new inmate guide within a reasonable time thereafter.



                                                2
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 3 of 24 PageID #: 22




       In October 1972, the Morris Rules were promulgated pursuant to the Rhode Island

Administrative Procedures Act (“APA”). Id. One year after promulgation (in 1973), the RIDOC

unilaterally suspended the Morris Rules following a serious security situation at the ACI resulting

in two deaths, including a correctional officer. Id. When the Morris Rules were not reinstated

following the conclusion of the emergency situation, the class action returned to the District Court.

Chief Judge Pettine granted permanent injunctive relief and stressed that only “…unusual case[s],

involving marked departure [from the ‘Morris Rules’] which might give rise to a supportable claim

of constitutional deprivation...’ [citation omitted] shall have cognizance before this court.” Morris

v. Travisono, 373 F.Supp. 177, 184-85 (D.R.I. 1974) (Morris II).

       In the absence of well-developed prison conditions jurisprudence in 1969, the consent

decree entered in the Morris action was a needed and welcomed reaction that resulted from the

conditions that existed fifty (50) years ago within the secured facilities of the Adult Correctional

Institution. The Morris Rules, for many years, served a legitimate interest in preserving the safety

of inmates, staff and the community by providing minimal standards in the absence of developed

law. However, the Morris Rules are outdated. Significant changes and clarifications in the law

concerning prison conditions have provided needed guidance for prisons in the United States. The

United States Supreme Court has more clearly refined the obligations of prisons and the rights of

prisoners relative to classification, discipline and minimum conditions of confinement.

Accordingly, the Morris Rules are no longer Constitutionally required to safeguard the rights of

prisoners.

       II. STANDARD OF REVIEW


             THE PRISON LITIGATION REFORM ACT

        This Motion to Terminate is governed by the Prison Litigation Reform Act of 1995,



                                                 3
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 4 of 24 PageID #: 23




 codified as amended at 18 U.S.C. § 3626(b)(2) (the “PLRA”); the PLRA allows existing federal

 court orders concerning prison conditions to be subject to “the immediate termination of any

 prospective relief if the relief was approved or granted in the absence of a finding by the court

 that the relief is narrowly drawn, extends no further than necessary to correct the violation of the

 Federal right, and is the least intrusive means necessary to correct the violation of the Federal

 right. 18 U.S.C. § 3626.



           In pertinent part, the PLRA states:

“(b)       Termination of relief.

          (1)    Termination of prospective relief.

               (A) in any civil action with respect to prison conditions in which prospective relief
is ordered, such relief shall be terminable upon the motion of any party or intervener-

                        (i) 2 years after the date the court granted or approved of the prospective
relief;

                       (ii) 1 year after the date the court has entered an order denying termination
of prospective relief under this paragraph; or,

                      (iii) in the case of an order issued on or before the date of enactment of the
Prison Litigation Reform Act [entered April 26, 1996], 2 years after such date of enactment.”

.............

“(2)      Immediate termination of prospective relief. In any civil action with respect to prison
conditions, a defendant or intervener shall be entitled to the immediate termination of any
prospective relief if the relief was approved or granted in the absence of a finding by the court that
the relief is narrowly drawn, extends no further than necessary to correct the violation of the
Federal right, and is the least intrusive means necessary to correct the violation of the Federal right.

(3)     Limitation. Prospective relief shall not terminate if the court makes written findings based
on the record that prospective relief remains necessary to correct a current and ongoing violation
of the Federal right, extends no further than necessary to correct the violation of the Federal right,
and that the prospective relief is narrowly drawn and the least intrusive means to correct the
violation.”



                                                   4
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 5 of 24 PageID #: 24




           In 1970 the Morris Rules were established in Morris v. Travisono (U.S.D.C.R.I.,

 Civ. A. No. 4192), and the PLRA was enacted in 1996. In enacting the PLRA, Congress

 stated explicitly that the amendment shall apply to all prospective relief even if originally

 granted before the enactment of the Act. See 18 U.S.C. §3626; Laaman v. Warden, New

 Hampshire State Prison, 238 F.3d 14, 17 n. 2 (1st Cir. 2001) (citing Rouse, 129 F.3d at 655).

 The PLRA broadly defines “prospective relief” to mean “all relief in any form that may be

 granted or approved by the court…including consent decrees.” Rouse, 129 F.3d at 654 (citing

 18 U.S.C. §3626(g)(7)(9)). Consent decrees entered into before the enactment of the PLRA

 on April 26, 1996 are terminable “2 years after such date of enactment.” 18 U.S.C. §

 3626(b)(1)(A)(iii). Clearly RIDOC’s instant motion to terminate pursuant to §3626 (b)(1) is

 timely.

        As the First Circuit Court of Appeals explained “Congress passed the PLRA in an effort,

in part, to oust the federal judiciary from day-to-day prison management”. Suffolk County Jail v.

Rouse, 129 F. 3d 649, 655 (1997) (quoting 141 Cong. Rec. 14,419 (1995) (statement of Sen.

Abraham) (“[N]o longer will prison administration be turned over to Federal judges for the indefinite

future for the slightest reason.”)); 141 Cong. Rec. 14,418 (1995) (statement from Sen. Hatch) (“I

believe that the courts have gone too far in micromanaging our Nation’s prisons.”); Feliciano v. Rullan,

378 F. 3d 42, 54 (1st Cir. 2004). The PLRA entitles RIDOC to immediate termination of any

prospective relief, if such relief was granted without a finding by the Court that it is

“narrowly drawn, extends no further than necessary to correct the violation of the Federal

right, and is the least intrusive means necessary to correct the violation of the Federal right”.

See §3626 (b)(2). “Prospective relief shall not terminate if the court makes written findings

based on the record that prospective relief remains necessary to correct a current and ongoing

violation of the Federal right, extends no further than necessary to correct the violation of the



                                                   5
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 6 of 24 PageID #: 25




Federal right, and that the prospective relief is narrowly drawn and the least intrusive means to

correct the violation.” 18 U.S.C. § 3626 (b)(3). Accordingly, the main focus must be on whether

the provisions the RIDOC seeks to terminate remain “necessary to correct a current and ongoing

violation of the Federal right.”

      Under the PLRA, this motion will “operate as an automatic stay...beginning on the 30th

day after” this motion is filed, unless the court produces written findings expressly stating the

three required PLRA conditions are met. 18 U.S.C. §3626(e)(2). Further, the court “shall

promptly rule on any motion to modify or terminate prospective relief in a civil action with respect

to prison conditions.” 18 U.S.C. §3626(e)(1). The court may postpone the automatic stay for up

to sixty (60) days for "good cause, but the court may not postpone the automatic stay “because of

general congestion of the court’s calendar.” 18 U.S.C. §3626(e)(3). The automatic stay remains

effective until the court rules on the motion. Miller v. French, 530 U.S. 327, 331 (2000).

   III.      BURDEN TO DEMONSTARTE ONGOING FEDERAL VIOLATIONS.

 The burden rests with the plaintiff to demonstrate that current and ongoing violations of federal

rights continue to persist. See Laaman, 238 F.3d at 20; Guajardo 363 F.3d at 395-96 (“A plain

reading of the PLRA, including its structure, imposes the burden on the prisoners.”). The

Fifth Circuit has concluded the PLRA standard is very different from motion for summary

judgment standards. The PLRA standard requires courts to make written, outcome determinative

findings based on the record whereas motions for summary judgment standards call for

intermediate written findings on whether issues of fact compel further proceedings. Guajardo, 363

F.3d at 395-96.

   IV.       PROSPECTIVE RELIEF SHALL TERMINATE, UNDER THE PLRA,
             UNLESS THERE IS EVIDENCE OF ONGOING VIOLATIONS OF A
             FEDERAL RIGHT.

          The federal rights of inmates incarcerated at the ACI are protected by RIDOC’s present


                                                 6
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 7 of 24 PageID #: 26




 policies and practices. The rights bestowed by the Morris Rules have been adopted and

 implemented in several departmental policies that will be identified and discussed below.

       The Morris Rules, in part, established procedures for the classification and discipline of

inmates at the RIDOC; in addition, the Morris Rules outlined privileges and restrictions for each

classification, establish minimum conditions of confinement, and enumerate those inmate actions

that constitute punishable conduct. Cugini v. Ventutuolo, 781 F. Supp. 107, 109 (D.R.I. 1992).



   A. INMATE DISCIPLINE.

       The Morris Rules, in part, govern discipline procedures at RIDOC, which procedurally

outlined the formal steps to be followed during the inmate disciplinary process, the punishable

conduct and the related charges that could be levied against inmates. See Exhibit A, Morris Rules.

The inmate facing discipline is provided with:

       “1) Written charge by reporting officer or employee.

       2) Investigation and review by superior officer.

       3)Hearing before Discipline Board.

       4) Administrative review.

      5)Record.”
      Id.   “DISCIPLINARY  PROCEDURES,  PROCEDURAL                             OUTLINE        FOR
DISCIPLINARY ACTION, FIVE MANADATORY STEPS”.

       Similarly, RIDOC’s discipline policy establishes procedural guidelines for the operation

of a code of inmate discipline that maintains order and furthers the rehabilitation of inmates. See

Ex. B, Policy 11.01-7, I. The process that is provided to a Rhode Island inmate charged with

discipline is as follows. Under RIDOC’s disciplinary policy, the formal discipline process begins

with a charging employee/officer submitting a disciplinary report to their superior officer as soon



                                                 7
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 8 of 24 PageID #: 27




as possible after the occurrence of the infraction. Id. at III.C.1.a. The superior officer reviews the

report within 24 hours (excluding weekend and holiday). Id. at III.C.2.a. The Superior officer

provides notice (excluding Class 4 infractions lowest in severity) where the inmate waives their

rights under the policy) to the inmate orally and in writing (disciplinary report) not later than one

day after the filing of the report and 24 hours prior to hearing. Id. at III.C.3.a. The written

discipline report must show the inmate’s name, identification #, work/housing assignments, time,

date, place and details concerning the alleged violation as well as identity of charging employee.

Id. at III.C.1.a.2. During the discipline hearing process an inmate is asked by a superior officer

whether they would like a referral to an adult counselor to assist in preparing for the discipline

hearing. Id. at 3.b. If the inmate makes such a request, an adult counselor is assigned and

scheduled to be on duty at the time of the hearing. Id. at III.C.4.a. The adult counselor meets with

the inmate prior to the hearing to assist with understanding the process, the charges pending and

how to present a defense. Id. at III.C.4.b. The inmate has an opportunity during the hearing to

present a reasonable amount of witness testimony subject to the discretion of the hearing officer.

Id. III.C.5.e.(i)

        Additionally, there is a process for appeal from an adverse finding following a discipline

hearing, and an automatic review is made by the Warden for any discipline sanction in excess

thirty days of restrictive housing. Id. at III.C.12.b and c. The hearing officer makes clear to the

inmate that he/she may request an adult counselor or any other approved person for assistance to

prepare any written request for review. Id. at III.12.b.3. and c.4. For imposed sanctions in excess

of ninety days, the necessary information is forwarded to Assistant Director of Operations for an

automatic review of the guilty finding. Id. at III.12.c.7. These safeguards clearly comport with the

requirements of Due Process. However, as argued below, prevailing case law maintains that




                                                  8
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 9 of 24 PageID #: 28




inmates do not enjoy a liberty interest in the disciplinary process.

       The Supreme Court of the United States has stated that “[t]he Due Process Clause standing

alone confers no liberty interest in freedom from state action taken ‘within the sentence imposed.’”

Sandin v. Conner, 515 U.S. 472, 480 (1995). The Court specifically rejected the claim that an

inmate has a right to remain in general population and stated that remaining in general population

is not a liberty interest protected by Due Process based on its decision in Meachum v. Fano, 427

U.S. 215, (1976). In Meachum, the Supreme Court found that:


       Due Process Clause in and of itself does not protect a duly convicted prisoner
       against transfer from one institution to another within the state prison system.
       Confinement in any of the State's institutions is within the normal limits or range
       of custody which the conviction has authorized the State to impose. That life in one
       prison is much more disagreeable than in another does not in itself signify that a
       Fourteenth Amendment liberty interest is implicated . . . .” Id. 427 U.S. 215, 225
       (1976).

       In Sandin, the Court went on to explain that the due process clause will not be implicated

unless “while not exceeding the sentence in such an unexpected manner as to give rise to protection

by the Due Process Clause of its own force, . . . nonetheless imposes atypical and significant

hardship on the inmate in relation to the ordinary incidents of prison life.” Id., 515 U.S. at 484.

This is because “‘[l]awful incarceration brings about the necessary withdrawal or limitation of

many privileges and rights, a retraction justified by the considerations underlying our penal

system.’” Goddard v. Oden, 2015 U.S. Dist. LEXIS 39370, at *5 (D.R.I. Mar. 9, 2015) (quoting

Price v. Johnston, 334 U.S. 266, 285 (1948)). This includes discipline by prison officials for

misconduct which clearly “falls within the expected perimeters of the sentence imposed by a court

of law.” Id. Accordingly, “[o]nly changes in prison conditions resulting from discipline imposed

without appropriate due process that constitute ‘atypical’ and ‘significant’ hardships sufficient to

give rise to the loss of a liberty interest are potentially actionable under § 1983.” Id. (emphasis


                                                  9
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 10 of 24 PageID #: 29




 added).


           This Honorable Court has stated that “[t]o implicate a liberty interest protected by the Due

 Process Clause, a plaintiff must allege a deprivation that is ‘atypical and significant on the inmate

 in relation to the ordinary incidents of prison life.’” Williams, 2006 U.S. Dist. LEXIS 101809 at

 *7. In Williams, this Court found that sanctioning an inmate to twenty-one (21) days of punitive

 confinement “fail[s] to come within the reach of the ‘atypical’ and ‘significant’ benchmark which

 would implicate a liberty interest protected by the Fourteenth Amendment.” Id. Likewise in

 Goddard, this Court has found that placement in disciplinary segregation for “an extra 30 days”

 does not implicate a liberty interest. Goddard, 2015 U.S. Dist. LEXIS 39370, at *6-7. Similarly,

 this Court has stated that placement in punitive segregation for one (1) year by itself is not

 sufficient to implicate a liberty interest. Benbow v. Weeden, 2013 U.S. Dist. LEXIS 109690, at *8

 (D.R.I. July 10, 2013). This Court explained because the plaintiff failed to allege “plausible facts

 permitting the inference that his year of disciplinary segregation constituted the loss of a liberty

 interest under Sandin, the due process allegations based on disciplinary segregation should be

 dismissed for failure to state a claim.” Id.


           Accordingly, any inmate who has been charged with misconduct and facing discipline, at

 that charging and hearing stages, has no liberty interest to any certain or particular process.

 However, once sanctioned, if the resulting conditions are deemed atypical and significant on the

 inmate in relation to the ordinary incidents of prison life, a liberty interest is implicated. The

 Constitutional focus is on the resulting conditions following a guilty finding, not the disciplinary

 hearing process. Accordingly, the discipline provisions of the Morris Rules do not implicate any

 rights secured under the Constitution. We must therefore focus the inquiry on what minimal

 conditions are mandated by the Constitution during any term of segregation.


                                                   10
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 11 of 24 PageID #: 30




        Additionally, as this Court has ruled, simply because an inmate is sanctioned to one (1)

 year in disciplinary confinement does not in and of itself implicate a liberty interest. See Benbow.

 Accordingly, the Morris Rules provision that limits a disciplinary sanction to thirty (30) days of

 disciplinary segregation for a single infraction does not have any basis or support under Federal

 law. See Exhibit A, III. Following the Supreme Court’s decision in Sandin, Due Process is

 implicated only after a disciplinary hearing has resulted in the imposition of a term of disciplinary

 confinement. Supra., 418 U.S. 539, 563-567 (1974). It is at this juncture Due Process applies in

 determining whether the conditions of the restricted confinement are Constitutional. If the

 conditions are deemed significant and atypical in relation to the ordinary incidents of prison life,

 a violation exists. Id., Supra., DuPonte at 504, 509-10 (D.R.I. 2018). Current precedent from the

 Federal Courts and from this Honorable Court clearly demonstrate the Morris Rules’ scope far

 exceeds Constitutional mandate. This Court has not made any findings, either in the various

 Morris Rules opinions themselves, or subsequently, that the relief therein is narrowly tailored, only

 extends to correct the violations of federal rights and is the least intrusive means to correct the

 violations. 18 U.S.C. §3626, (b)(2). Accordingly, the Morris Rules should be terminated.

        Finally, there is no basis in Federal law bestowing a right to a three (3) member

 disciplinary panel when an inmate is facing discipline. See Exhibit A, V.III.A. The Constitution

 does not require a three-member disciplinary board and the Federal Courts have never required

 the same. The Supreme Court’s decision in Wolff v. McDonnell, 418 U.S. 539 (1974), detailed

 the process that is due to inmates facing discipline. Minimum Due Process requires that an

 inmate receive advance notice of the charges, a written statement by the factfinders relative to

 the evidence relied upon and the reasons for the disciplinary action taken, a restricted right to call




                                                  11
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 12 of 24 PageID #: 31




 witnesses and present documentary evidence when permitting this opportunity is not unduly

 hazardous to institutional safety or correctional goals. Id. at 563-566.

    B. MINIMUM CONDITIONS                    DURING        A     TERM       OF   DISCIPLINARY
       CONFINEMENT

        The Morris Rules, as concerning the allowable minimal conditions in disciplinary

 confinement, provide:


        A.     cell equipped with lighting sufficient to read by, toilet, sink, bed, blankets, and
        mattress.
        B.     Suitable clothing.
        C.      Personal hygiene supplies (including soap, toothbrush, toothpaste, powder, towel,
        and toilet paper).

        D.      Writing materials, type and amount in discretion of superior officer on duty.

        Prescription eyeglasses.

        E.     Reasonable reading material, at least two books of inmate’s choice and owned by
        the inmate.

        F. Meals of the same type and quality as provided in the general population.

        G. Showers at least twice a week.

        H. Exercise outside cell not to commence until after five days unless otherwise ordered
        by institutional physician.

        I. Right to send mail and receive letters.

        J. Access to medical facilities.

             See Exhibit A. .

        The current policies of RIDOC secure all of these conditions. RIDOC policy 12.27

 “Conditions of Confinement”, requires that all disciplinary confinement inmates possess reading

 materials (including books and newspapers), writing materials, religious items, cosmetics (hygiene

 products), an assortment of clothing, bed linens, legal materials, playing cards, board games,

 stamps, envelopes, and jewelry. See Exhibit C, attachment “Authorized items in Cells”.


                                                     12
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 13 of 24 PageID #: 32




        Additionally, inmates serving disciplinary confinement receive a minimum of (1) hour per

 day out of cell time, five (5) days per week. Id. at IV.B.3.c (1). Inmates, at the discretion of the

 facility warden may participate in education and programming. Id. at IV.B.3.c (3). Disciplinary

 confinement inmates have full access to health care, mental health care and dental services to the

 same extent as general population inmates, and in addition are allowed to keep medication on their

 person (in their housing cell). Id. at IV.B.4. Moreover, nursing staff rotate through the disciplinary

 confinement areas daily. Id. at IV.B.4.a.

        Additionally, behavioral health services staff shall:

        - meet with all disciplinary confinement inmates after they have completed 30 days in such
        confinement, and will assess said inmates every 30 days thereafter.
        - meet with disciplinary confinement inmates “who have acute or chronic mental illness,
        are currently receiving mental health treatment or have mental health histories as clinically
        appropriate”;
        - review the RIDOC’s mental health and disciplinary databases to review the records of
        inmates placed in disciplinary confinement or restrictive housing. Id. at IV.B.4.b.

        Inmates placed in disciplinary confinement are afforded:

        - a phone call to immediate family to inform them of their change in status. Id. at
        IV.B.8c.(1).
        - a 10 minute phone call to a family member if the inmate completes 30 days of disciplinary
        confinement without any further infractions; Id. at IV.B.8.c.(2).
        - Inmates housed in disciplinary confinement are allowed direct “in-person” access to an
        inmate law clerk. Id. at IV.B.9.a-b.

        Additionally, all disciplinary confinement inmates who are sanctioned to more than 30

 days of disciplinary confinement and who remain discipline free for forty-five (45) days are

 allowed to request for a suspension of their remaining time on said status. Id. at IV.B.10.c.(1).

 Mental health or medical staff may recommend to the warden a suspension of remaining

 disciplinary confinement time for medical or mental health reasons. Id. at IV.B.10.c.(4).(a). Also,

 no disciplinary confinement inmate shall have their minimum privileges reduced except where it

 is determined that the inmate will destroy property or is a danger to himself or others. Id. at IV.C.



                                                  13
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 14 of 24 PageID #: 33




 1.

        All disciplinary confinement inmates are served the same meals as all other inmates housed

 in their facility. Id.    Additionally, “under no circumstances is food used as a disciplinary

 measure.” See Exhibit. D., Menu Planning policy 16.05-3 II,D.2.

          Behavioral health staff, on a daily basis, check the disciplinary records. If staff feel that

 an inmate’s mental health status has contributed to the commission of an infraction, they will

 discuss the same with the Clinical Director/Psychologist and if appropriate will approach the

 facility warden to evaluate whether the “misconduct was as a result of symptoms of mental illness

 and/or to what extent the sanction interferes with an offender’s treatment or recovery plan”. See

 Exhibit B, III. C.2.e.(1). The warden may dismiss the charge or review the matter with behavioral

 health staff to determine the extent to which an inmate’s mental health status influenced his/her

 behavior”. Id at III.C.2.e.(2).

        Additionally, any inmate designated with a serious and persistent mental illness shall enter

 a Residential Treatment Unit (RTU). This unit serves as an alternative to disciplinary confinement.

 See Exhibit E, RTU Manual P.3. The mission of the RTU is to assist inmates to achieve their

 highest level of functioning by developing alternative coping skills that result in behavioral

 stability sufficient to return to general population. Id.

        Accordingly, to the extent the Morris Rules provide for Constitutionally secured minimal

 living conditions, present RIDOC policies and protocols meets those standards.          Accordingly,

 prospective relief under the Morris Rules is not required, as RIDOC’s policies and practices are in

 compliance with Federal rights.

      C. CONDITIONS OF CONFINEMENT-MINIMUM STANDARDS

        The Morris Rules, in part, established the classification categories. The Morris Rules also




                                                   14
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 15 of 24 PageID #: 34




 established the minimum conditions an inmate may be subject to during their term of sentence

 regardless of status. The following categories were established:


        -Category “A”: comprised the general prison population, inmates within this category
        enjoyed all opportunities for work, education, rehabilitative and recreational programs
        based on availability.

        -Category “B”: subjected inmates to a temporary restrictive movement and closer
        observation than “A” population inmates.

        -Category “C”: inmates that displayed a chronic inability to adjust to the general
        population, or required maximum protection for themselves or others.

        -Category “D”: A category “C” inmate may have been classified to “D” category based
        on the course of conduct and required closer control than a “C” category inmate. See
        Exhibit A at P.


        The minimum standards set out by the Morris Rules for inmates classified to any of the

 above outlined categories are as follows:


        I.       Except as otherwise provided, every inmate of the A.C.I. in categories A, B, C,
                and D or disciplinary statute, excluding punitive segregation, shall be entitled to at
                least the following:

                A. A cell equipped with lighting sufficient for an inmate to read by during hours
                   prior to the time cell illumination is required to be extinguished for inmates in
                   general population, toilet and sink, bed and mattress;
                B. Clothing to the extent required for use in the general population.
                C. Bedding, including blanket, sheets, pillows and pillowcases.
                D. Personal hygiene supplies (including soap, toothbrush, toothpaste, powder,
                   towel and toilet paper.
                E. Minimum writing materials.
                F. Prescription eyeglasses.
                G. Any book, periodical, document, or other paper of his that he would be
                   permitted to have in the general population, not to exceed five, except that such
                   limitation shall not apply to lawbooks, legal periodicals or other legal materials.
                H. Meals of the same type and quality as provide in the general population;
                I. Showers at least twice a week;
                J. Exercise outside of the cell for at least one hour each day and where weather
                   permits, such exercise shall be out-of-doors every other day. (Holidays and
                   weekends excluded.)
                K. Correspondence privileges available to all inmates.


                                                 15
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 16 of 24 PageID #: 35




                     L. Daily access to medical facilities.
                     M. Visiting subject to usual administrative control.” Id. at P.


          RIDOC’s current policies secure these conditions. RIDOC policy 12.27 “Conditions of

 Confinement”-(see Exhibit C), provides a schedule for all authorized items to be maintained in a

 cell for each confinement status. See Exhibit C, attachment entitled “Authorized Items in Cells”.

 Inmates, regardless of confinement status, are allowed a pillow, linens, clothing, reading materials

 (newspapers & books), eyeglasses, playing cards, board games, stamps, envelopes, jewelry,

 writing materials, religious items, assorted hygiene items and cosmetics. Id. Visits and phone calls

 are allowed on all statuses (disciplinary confinement does not allow visits except from clergy and

 legal). Inmates are allowed a phone call just prior to being placed disciplinary confinement status

 and after 30 days). Id. at 4.B.8.c.(i). Recreation is afforded to all inmates on all statuses for at least

 2 hours per day, excluding time out of cell for meals and showering, except inmates on disciplinary

 segregation who receive at least 1 hour per day, excluding meals and showering. Id. at 4.B.3.

          Additionally, “Inmates will be permitted uninterrupted correspondence and/or publications

 (e.g.,   letters,     memos,     greeting   cards,   books,    magazines,    etc.)    as   long   as   the

 correspondence/publications pose no threat to the safety and security of the facility, public

 officials, or the general public, do not hinder rehabilitation of an inmate, are not being used to

 further illegal activities and meet all other specifications contained within policy. See Exhibit F,

 Policy 24.01. “All inmate health, mental health and dental needs are managed the same as general

 population, including but not limited to, sick call, keep on person medication (KOP), and access

 to physicians/dentists. All medical emergencies are attended to immediately.” Exhibit C. IV (B)

 4. “Nursing staff shall “trip” (walk through) the Restrictive Housing units/areas daily”. Id.

 IV(B)4.(b).

          Finally, all cells are properly illuminated during the day and for a portion of the evening.


                                                      16
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 17 of 24 PageID #: 36




 During sleeping hours, cell lights are turned off and dimmer night lights are illuminated. See Kettle

 affidavit.

         Prison officials have a duty to “provide humane conditions of confinement;…ensure that

 inmates receive adequate food, clothing, shelter, and medical care, and… ‘take reasonable

 measures to guarantee the safety of the inmates.’” Giroux v. Somerset County, 178 F.3d 28, 31

 (1st Cir. 1999); see also Cortes-Quinones v. Jimenez-Nettleship, et al., 842 F.2d 556, 558 (1st Cir.

 1988) (“When prison officials intentionally place prisoners in dangerous surroundings, when they

 intentionally ignore prisoners’ serious medical needs, or when they are “deliberately indifferent”

 either to prisoners’ health or safety, they violate the Constitution.”).

                 A prisoner must establish two requirements to state a violation of the Eighth

 Amendment. “First, the alleged deprivation of adequate conditions must be objectively serious,

 i.e., ‘the inmate must show that he is incarcerated under conditions posing a substantial risk of

 serious harm.’” Id. at 32 (quoting Farmer v. Brennan, 511 U.S. 825, 834 (1994)). “Second, the

 official involved must have had ‘a sufficiently culpable state of mind described as deliberate

 indifference to inmate health of safety.’” Giroux v. Somerset County, 178 F.3d at 32 (internal

 citations omitted). Deliberate indifference means that “a prison official cannot be found liable

 under the Eighth Amendment for denying an inmate humane conditions of confinement unless the

 official knows of and disregards an excessive of risk to inmate health or safety.” Farmer v.

 Brennan, 511 U.S. at 837; see also Cortes-Quinones v. Jimenez-Nettleship, et al., 842 F.2d at 558

 (“the term ‘knowledge of [a large]…risk can be inferred.’”) (citations omitted). In short, “[t]he

 question under the Eighth Amendment is whether prison officials, acting with deliberate

 indifference, exposed a prisoner to a sufficiently substantial ‘risk of serious damage to his future

 health…’” Farmer v. Brennan, 511 U.S. at 843.




                                                   17
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 18 of 24 PageID #: 37




        Accordingly, to the extent that the Morris Rules implicate minimum standards (living

 conditions) guaranteed by the United States Constitution, RIDOC polices secure the very same

 standards. Compliance with these minimal policy standards ensures against a serious risk to the

 health and welfare of inmates.      Accordingly, the standards set out in RIDOC’s policies and

 practices provide the mandated Federal rights, and thus, termination of Morris is warranted. 18

 U.S.C. §3626(a)(1)(B)(ii).




    D. MORRIS RULES-EMERGENCY OR TEMPORARY PROVISIONS


        The Morris Rules, in part, also provide certain provisions that may be exercised by prison

 administrators during emergencies. The pertinent provisions state:


 “When faced with an immediate threat to the security or safety of the Adult Correctional
 Institutions or any of its employees or inmates, officials of the institution may temporarily reassign
 inmates in accordance with the following regulations.



        I.      Reassignment by a correctional officer on approval of his immediate supervisor:
                A. When a correctional officer or other employee witnesses an inmate commit a
                   serious wrongdoing.
                B. When an inmate presents reasonable eye witness information than an inmate
                   committed a serious wrongdoing.
                C. When an inmate seeks safety or protection from others.


        II.  By supervisory officials of rank of Lieutenant or above, pending investigation.
             A.When an inmate is suspected of serious wrongdoing, either committed or
             planned.
             B. When an inmate is suspected of being a witness to overt acts which constitute a
             serious violation of institutional regulations or a violation of state law.
    E. When requested by prosecuting attorney or superintendent of State Police.
                 a. When inmate is suspected as perpetrator of a crime.
                 b. When inmate is a material witness to a criminal act.



                                                  18
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 19 of 24 PageID #: 38




        Requests under C will be honored upon oral request but shall not be observed beyond
 seventy-two (72) hours in absence of receipt by Assistant Director of a written confirmation by
 requesting authority.



             c. All inmates assigned temporarily under the preceding provisions will, as soon as
                reasonably possible, be informed in writing of the reason for their assignment and
                will be afforded all other rights due them under institution disciplinary and
                classification procedures.


             d. A written record of all temporary reassignments shall be forwarded to the Associate
                Director for his concurrence or nonconcurrence, and he shall forward the record to
                the Assistant Director or his designee for approval or disapproval. The report
                showing review of each is to be placed in the inmate’s permanent classification file.


             e. All temporary assignments shall be reviewed at the next regular meeting of the
                Classification Board, which in any case will not exceed one week, and final action
                by the Board will be ordered without unnecessary delay.” See Exhibit A VI.-X.

         Similarly, RIDOC policy 12.27 allows for an inmate to be classified and placed in

 Administrative Confinement when their pattern of conduct demonstrates a chronic inability to

 adjust to the general population, when maximum personal protection is required, when they pose

 a serious threat to themselves, to others, to the institutions or they pose a serious escape risk. See

 Exhibit C, III.E.1. Pursuant to policy 15.01, (“Classification Process”) a classification board

 hearing is conducted whenever necessitated by a major change in an inmate’s behavior. See Ex.

 G. III.L. Inmates are notified in advance of their reclassification hearing date. Id. at IV.B.10.d.

 Adult Counselors are responsible of reviewing the inmate’s records and any additional necessary

 information for the reclassification process and present findings to classification board members.

 Id. at III.B.5.

         In addition, sentenced inmates may be placed in Administrative Detention for investigative

 purposes, following which they shall be returned to their classification. Id. at III.E.2. The closer

 supervision provided by Administrative Detention is recommended by staff in writing “based on


                                                  19
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 20 of 24 PageID #: 39




 the inmate’s conduct, enemy issues, law enforcement requests and/or threats to the safety and

 security of the institution.” Id. at IV.B.1.d. The inmate will receive an administrative transfer

 notice within 24 hours of their removal from general population. The notice includes information

 as to the inmate’s right to object. Id. at IV.B.1.e.(1),(2).

         Accordingly, departmental policies provide the same protections as the Morris Rules in the

 event an inmate is moved from general population due to their behavior or as a result of an

 investigation. Pursuant to departmental policy, inmates are notified in writing, provided a hearing,

 assistance by an adult counselor and an opportunity to object to the transfer. To the extent that the

 emergency provisions of the Morris Rules provide Constitutional protections, the current polices

 of the department afford these same protections.


     F. MAIL PROCEDURES


                     The Morris Rules, in part, also govern mail procedures for all inmates. These
                     provisions state:


         1.      All outgoing mail shall be transmitted unopened and uninspected.

        2.     All incoming mail may be opened and inspected solely for the purpose of detecting
 contraband and said mail may not be read or delayed.

        3.      Any incoming mail of any kind designated from courts, judges, or attorneys may
 be opened for inspection only in the presence of the inmate’s addressee.

         The RIDOC’s policy, with respect to non-privileged incoming and outgoing mail, allows

 the same to be opened and inspected for contraband. See Exhibit H, Inmate mail policy, 1.4.3, A.

 1-2. In addition, the “Director or the Assistant Director of Institutions & Operations, may authorize

 the reading of incoming non-privileged mail when in his/her opinion such action is necessary to

 prevent entry of materials and/or information” that jeopardize the safety and security of the

 institutions. Id. at B.1. Further, “Incoming non-privileged mail is disapproved only to prevent


                                                   20
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 21 of 24 PageID #: 40




 interference with facility goals of security, order, discipline, rehabilitation, if it might facilitate,

 encourage or instruct in criminal activity, or contribute to a hostile work environment. Disapproval

 is not based upon an employee’s personal views of the merit of such mail.” Id. at B.3.a.

        The Department’s policy, with respect to privileged incoming and outgoing mail, allows

 staff to open and inspect for contraband such mail only in the presence of the receiving or sending

 inmate, and only if a reasonable belief exists that the security of the institution is at risk. Id. at

 1.4.2, B.1-2, &1.4.2, C.1. Departmental staff are prohibited from reading incoming or outgoing

 privileged mail. Id. The Department considers privileged mail to include mail being sent to or

 from any State or Federal Court official, the U.S. President, Governor, member of Congress or

 State General Assembly, U.S. or State Attorney General, the Director or agent of the F.B.I., senior

 administrator of any State Police Department, RIDOC Director, Assistant Director or Grievance

 Coordinator of RIDOC, the R.I. Parole Board, any public official or agency, The American Civil

 Liberties Union, Public Defender or an attorney. Id. at A. 2.

        When the Department deems it necessary to remove any item from incoming mail, a written

 record is made of such action, a copy of the record and written notice is provided to the affected

 inmate as to the underlying reasons for the refusal. Id. at 1.4.1. B. 9. a. The inmate is also notified

 of the appeal process to be taken. Id at B. 10. a. Finally, in the event any outgoing mail is not

 permitted to be mailed, based on policy, the inmate is notified in writing as to the reason of the

 refusal and the process which he/she may rely on to appeal the decision. Id. at 12. a.

        The Departmental policy governing mail is consistent with the existing Federal law.

 Inspection of an inmate’s mail may implicate First Amendment rights. Felton v. Lincoln, 429

 F.Supp.2d 226, 242-43 (D. Mass. 2006)(citing Stow v. Grimaldi, 993 F.2d 1002, 1003-04 (1st Cir.

 1993)). However, prison administrators may rightfully impose restrictions on incoming mail if




                                                   21
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 22 of 24 PageID #: 41




 the restriction is reasonably related to a legitimate penological interest. Thornburgh v. Abbott, 490

 U.S. 401, 413, 109 S. Ct. 1874 (1989). The imposition of restrictions on outgoing mail is

 authorized if the restriction is in furtherance of a substantial governmental interest unrelated to the

 suppression of expression and no greater than necessary to achieve such goal. Procunier v.

 Martinez, 416 U.S. 396, 413, 109 S.Ct. 1874 (1974). The Supreme Court has recognized “security,

 order, and the rehabilitation of inmates” as substantial government interests. Id. at 396; see also

 Stow, 993 F.2d at 1004. With regard to privileged mail, the Supreme Court allows prison

 administrators to open and inspect such mail when in the presence of the inmate. Wolff, 418 U.S.

 at 577.

    F. PROSPECTIVE RELIEF MUST BE TERMINATED UNLESS THE DISTRICT
       COURT MAKES THE REQUIRED FINDINGS THAT THE RELIEF IS
       NARROWLY DRAWN, EXTENDS NO FURTHER THAN NECESSARY AND IS
       LEAST INTRUSIVE, AND ALSO FINDS ONGOING, SYSTEM-WIDE
       CONSTITUTIONAL VIOLATIONS.

           The PLRA expressly restricts a court’s power to continue “certain forward looking” relief

 in civil actions challenging conditions in prisons or pretrial detention facilities.” Benjamin v.

 Jacobson, 172 F.3d 144, 154-55 (2d Cir. N.Y. 1999) (en banc). The PLRA prohibits a court

 order approving any prospective relief unless the court first finds that such relief is: (1) narrowly

 drawn, (2) extends no further than necessary to correct the violation of the involved federal right,

 and (3) is the least intrusive means necessary to correct the violation of that federal right. See 18

  U.S.C. §3626(a)(1)(A), Rouse at 654, Feliciano at 54. If a court order granting prospective

  relief does not expressly state that the required three conditions are satisfied, the PLRA mandates

  that prospective relief shall terminate in the following manner:

           “In any civil action with respect to prison conditions, a defendant or intervener
           shall be entitled to the immediate termination of any prospective relief if the relief
           was approved or granted in the absence of a finding by the court that the relief is
           narrowly drawn, extends no further than necessary to correct the violation of the


                                                    22
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 23 of 24 PageID #: 42




        Federal right, and is the least intrusive means necessary to correct the violation of
        the Federal right.” 18 USCS § 3626(b)(2).

  The PLRA also limits the court’s termination power in the following manner:

        “Prospective relief shall not terminate if the court makes written findings based on
        the record that prospective relief remains necessary to correct a current and ongoing
        violation of the Federal right, extends no further than necessary to correct the
        violation of the Federal right, and that the prospective relief is narrowly drawn and
        the least intrusive means to correct the violation.” 18 USCS § 3626(b)(3).

  Where, as here, the consent decree was entered before the enactment of the PRLA, without the

  now required findings, “the prospective relief terminates unless the district court makes these

  findings and ... also finds ongoing, system-wide violations.” Guajardo, 363 F.3d at 395.

        This Honorable Court, for decades, has routinely entertained Constitutional claims from

 the individual Plaintiff class members alleging deprivations due to the Defendant’s disciplinary

 and classification procedures and policies. This Court is quite familiar with the conditions of

 confinement as they exist in the disciplinary confinement areas of the various facilities that

 comprise the R.I. Department of Corrections as well as those conditions maintained in the various

 classification statuses. Inmates are provided with clothing, adequate meals and health care,

 religious services, recreation, out of cell time, access to family and friends through visits and by

 telephone, library resources and to attorneys.        This Court has routinely found RIDOC in

 compliance with Federal law.

        CONCLUSION

        Accordingly, in light of the above arguments in support of the position that the relief

 provided by the Morris Rules are not narrowly drawn to protect and no longer needed or necessary

 to correct current and ongoing Federal rights violations, the Department urges that this Honorable

 Court terminate the Morris Rules and all prospective relief provided therefrom.




                                                  23
Case 1:69-cv-04192-JJM-PAS Document 2 Filed 01/31/20 Page 24 of 24 PageID #: 43




                                    R.I. DEPARTMENT OF CORRECTIONS,
                                    By its Attorney,

                                    /s/ Michael B. Grant

                                    Michael B. Grant, Esquire (#3864)
                                    R.I Department of Corrections
                                    40 Howard Avenue
                                    Cranston, Rhode Island 02920
                                    TEL: (401) 462-0145
                                    FAX: (401) 462-2583




                                      24
